UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 JOERGEN GEERDS,

                               Plaintiff,                     Docket No. 1:19-cv-5706

        - against -                                           JURY TRIAL DEMANDED


 REXMARK HOLDINGS LLC

                                Defendant.


                                            COMPLAINT

       Plaintiff Joergen Geerds (“Geerds” or “Plaintiff”) by and through his undersigned

counsel, as and for his Complaint against Defendant Rexmark Holdings LLC (“Rexmark” or

“Defendant”) hereby alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act. This action arises out of Defendant’s unauthorized reproduction and public display of a

copyrighted photograph of the Brooklyn and Manhattan bridges, owned and registered by

Geerds, a New York based professional photographer. Accordingly, Geerds seeks monetary

relief under the Copyright Act of the United States, as amended, 17 U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       3.      Upon information and belief, this Court has personal jurisdiction over Defendant

because Defendant resides and/or transacts business in New York.
       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

                                             PARTIES

       5.      Geerds is a professional photographer in the business of licensing his photographs

for a fee having a usual place of business at 2334 30th Drive, Astoria, New York 11102.

       6.      Upon information and belief, Rexmark is a domestic limited liability company

organized and existing under the laws of the State of New York, with a place of business at 295

Madison Avenue, New York, New York 10017. Upon information and belief, Rexmark is

registered with the New York State Department of Corporations to do business in New York. At

all times material hereto, Rexmark has owned and operated a website at the URL:

www.Rexmark.com (the “Website”).

                                    STATEMENT OF FACTS

       A.      Background and Plaintiff’s Ownership of the Photograph

       7.      Geerds photographed the Brooklyn and Manhattan bridges (the “Photograph”). A

true and correct copy of the Photograph is attached hereto as Exhibit A.

       8.      Geerds is the author of the Photograph and has at all times been the sole owner of

all right, title and interest in and to the Photograph, including the copyright thereto.

       9.      The Photograph was registered with United States Copyright Office and was

given Copyright Registration Number VA 1-132-252.

       B.      Defendant’s Infringing Activities

       10.     Rexmark ran the Photograph as a banner on the Website. See:

https://www.rexmark.com/about-rexmark/. A screenshot of the Photograph on the Website is

attached hereto as Exhibit B.
       11.     Rexmark did not license the Photograph from Plaintiff for its Website, nor did

Rexmark have Plaintiff’s permission or consent to publish the Photograph on its Website.

                               CLAIM FOR RELIEF
                    (COPYRIGHT INFRINGEMENT AGAINST DEFENDANT)
                               (17 U.S.C. §§ 106, 501)

       12.     Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-11 above.

       13.     Rexmark infringed Plaintiff’s copyright in the Photograph by reproducing and

publicly displaying the Photograph on the Website. Rexmark is not, and has never been, licensed

or otherwise authorized to reproduce, publically display, distribute and/or use the Photograph.

       14.     The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

       15.     Upon information and belief, the foregoing acts of infringement by Rexmark have

been willful, intentional, and purposeful, in disregard of and indifference to Plaintiff’s rights.

       16.     As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

Defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.

       17.     Alternatively, Plaintiff is entitled to statutory damages up to $150,000 per work

infringed for Defendant’s willful infringement of the Photograph, pursuant to 17 U.S.C. § 504(c).

       18.     Plaintiff further is entitled to his attorney’s fees and full costs pursuant to

17 U.S.C. § 505

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests judgment as follows:
       1.     That Defendant Rexmark be adjudged to have infringed upon Plaintiff’s

              copyrights in the Photograph in violation of 17 U.S.C §§ 106 and 501;

       2.     That Plaintiff be awarded either: a) Plaintiff’s actual damages and Defendant’s

              profits, gains or advantages of any kind attributable to Defendant’s infringement

              of Plaintiff’s Photograph; or b) alternatively, statutory damages of up to $150,000

              per copyrighted work infringed pursuant to 17 U.S.C. § 504;

       3.     That Defendant be required to account for all profits, income, receipts, or other

              benefits derived by Defendant as a result of its unlawful conduct;

       4.     That Plaintiff be awarded his costs, expenses and attorneys’ fees pursuant to 17

              U.S.C. § 505;

       5.     That Plaintiff be awarded pre-judgment interest; and

       6.     Such other and further relief as the Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).

Dated: Valley Stream, New York
       June 18, 2019
                                                            LIEBOWITZ LAW FIRM, PLLC
                                                            By: /s/Richard Liebowitz
                                                                 Richard P. Liebowitz
                                                            11 Sunrise Plaza, Suite 305
                                                            Valley Stream, NY 11580
                                                            Tel: (516) 233-1660
                                                            RL@LiebowitzLawFirm.com

                                                           Attorneys for Plaintiff Joergen Geerds
